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                  IN THE UNITED STATES DISTRICT COURT FOR THE

                             MIDDLE DISTRICT OF FLORIDA



LA ROSA FRANCHISING, LLC and

LA ROSA REALTY, LLC, CASE NO:6:21-CV-1660-ACC

Plaintiffs,

v.

ANA IVELISSE MORALES and

LA ROSA REALTY PUERTO RICO, PSC

Defendants.

_________________________________________/

                        ATTORNEYS’ AFFIDAVIT OF COMPLIANCE

        Pursuant to Section 48.161 of the Florida Statutes and the prior Orders of the Court,
Plaintiffs’ counsel, Vincent B. Lynch, Esq. and Carlos Bonilla, Esq., file this Affidavit of
Compliance and in support thereof state:

1.      Pursuant to Section 48.161, Fla. Stat., Plaintiffs hereby confirm and provide notice of
the facts demonstrating due diligence on the part of the Plaintiffs in attempting to locate
and serve the Defendants.

2.     On May 11, the Secretary of State provided Plaintiffs with notice of accepted service
of process upon Defendants, Ana Ivelisse Morales and La Rosa Realty Puerto Rico, LLC.

3.      On May 11, 2022, Plaintiffs sent notice to these Defendants of the Secretary of
State's acceptance of substituted service including copies of the process, summonses and
Amended Complaint in this action via certified mail.

4.     Defendants’ return receipt is not yet available and not expected as these Defendants
have concealed their whereabouts and otherwise have refused to respond to this action
and the many communications of the Plaintiffs.

5.     When, as here, the Defendants conceal their whereabouts, it is unlikely or not
possible to serve them by mail or otherwise even with the notice of acceptance of service
on their behalf by the Florida Secretary of State. Because these Defendants have made it
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impossible for the Plaintiffs to serve them by mail or otherwise, any failure to file
Defendants’ return receipt does not prevent the court from acquiring jurisdiction and

6.     The undersigned certify that they made a diligent search and inquiry to discover the
current residence of each of the Defendants and sent notice of acceptance of service by the
Secretary of State to the same.



DATED this 18th day of May 2022

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                                          Vincent B. Lynch, Esq.
                                          By:
                                          /s/ Carlos Bonilla
                                          Carlos Bonilla, Esq.

                                CERTIFICATE OF SERVICE

The foregoing Plaintiffs’ Affidavit of Compliance was served via mail to the last known
address of each Defendant on May 18, 2022.
